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             Exhibit B
                       to Hawkins Declaration

Plaintiffs’ Reply in Further Support of Motion for Class Certification


   Michelo et al. v. Nat’l Collegiate Student Loan Trust 2007-2 et al., No. 18-CV-1781
   Bifulco et al. v. Nat’l Collegiate Student Loan Trust 2004-2 et al., No. 18-CV-7692
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                                                                  Page 1

1
              UNITED STATES DISTRICT COURT
2             SOUTHERN DISTRICT OF NEW YORK
              Civil Action No. 1:18-cv-017819(PGG)
3             - - - - - - - - - - - - - - - - - - -x
4             MUTINTA MICHELO, KATHERINE SEAMAN,
              MARY RE SEAMAN, and SANDRA TABAR,
5             individually and on behalf of all
              others similarly situated,
6
                                        Plaintiffs,
7
8                          -against-
9
              NATIONAL COLLEGIATE STUDENT LOAN TRUST
10            2007-2, NATIONAL COLLEGIATE
              STUDENT LOAN TRUST 2007-3;
11            TRANSWORLD SYSTEMS, INC. in its own
              right and as successor to NCO FINANCIAL
12            SYSTEMS, INC.; EGS FINANCIAL CARE INC.,
              formerly known as NCO FINANCIAL SYSTEMS,
13            INC; and FORSTER & GARBUS LLP,
14                             Defendants.
15            - - - - - - - - - - - - - - - - - - -x
              [Second caption on following page]
16
17                                      February 11, 2020
                                        10:02 a.m.
18
19                 Deposition of BRADLEY LUKE,
20            taken by Plaintiffs, pursuant to
21            Notice, held at the offices of
22            Veritext Legal Solutions LLP, 1250
23            Broadway, New York, New York, before
24            Kathleen Piazza Luongo, a Notary
25            Public of the State of New York.

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1                                 Bradley Luke
2                   Q.    What is NCF's relationship to
3          PHEAA?
4                         MR. HAWKINS:             Strike that.
5                   Q.    What was NCF's relationship to
6          PHEAA as of the date listed on this pool
7          supplement?
8                   A.    I'm not sure.
9                   Q.    Please scroll down to NCSLT
10         Bates 108.
11                        Before we get there, I would
12         like to pause at 105 for a second.                      GATE
13         Holdings, Inc., do you see that, where it
14         says "National Collegiate Funding LLC"?
15                  A.    Yes, sir.
16                  Q.    What is GATE Holdings, Inc.?
17                  A.    I don't recall.
18                  Q.    Please continue down to 108.
19                  A.    Yes, sir.
20                  Q.    The top of this document says
21         "Schedule 2," below that it says "Student
22         Loans," below that it says -- I'm going
23         to pause for a second -- "Schedule 2,
24         Student Loans."
25                        If I'm understanding this

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                                                                Page 131

1                                 Bradley Luke
2          correctly, this is the Schedule 2
3          referenced at the top of this pool
4          supplement that we just looked at;
5          correct?
6                   A.    Yes, it was the Schedule 2 that
7          was defined as transferred Bank One
8          loans.
9                   Q.    Okay.
10                        And below "Student Loans" it
11         says "See supplemental loan roster CD"?
12                  A.    Yes, sir.
13                  Q.    So this is the list of all the
14         loans that were transferred pursuant to
15         the pool?
16                  A.    Yes.
17                  Q.    Okay.
18                        What kind of CD is this?
19                  A.    A compact disc.
20                  Q.    Okay.
21                        Would it be like a compact disc
22         that you could go buy at the CVS
23         downstairs?
24                  A.    Presumably.
25                  Q.    So you have never seen this

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                                                                Page 132

1                                 Bradley Luke
2          compact disc?
3                   A.    I don't know if I have this one
4          or not.
5                   Q.    How many compact discs
6          connected to pool supplements do you have
7          in your possession?
8                   A.    Between four and seven, I
9          believe, if I remember right.
10                  Q.    Okay.
11                        Did you search for this compact
12         disc referred to on this page in
13         connection with the document demands that
14         Plaintiffs here have made?
15                  A.    Not specifically for the
16         compact disc, um, but the information
17         that is contained on the compact disc.
18                  Q.    Did you find the compact disc?
19                  A.    I just said I didn't search for
20         the compact disc, just the information
21         that was on the disc.
22                  Q.    And did you find that
23         information?
24                  A.    Yes.
25                  Q.    What happens when --

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1                                 Bradley Luke
2                         MR. HAWKINS:             Strike that.
3                   Q.    What computer program was used
4          to create this compact disc?
5                   A.    To create the actual disc?                  I'm
6          not sure.
7                   Q.    Who created the disc?
8                   A.    First Marblehead.
9                   Q.    Who within First Marblehead?
10                  A.    I'm not sure of the individual.
11                  Q.    Where was that compact disc
12         kept as of the date listed on this pool
13         supplement?
14                  A.    I believe it was kept with
15         First Marblehead.
16                  Q.    How did they keep it?
17                  A.    I'm not sure.
18                  Q.    How did First Marblehead know
19         what information to put on that compact
20         disc?
21                  A.    They assisted in arranging the
22         sale of the loans, so identifying loans
23         that were eligible for sale, um, and
24         ultimately putting them and creating the
25         schedule that that disc contains.

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1                                 Bradley Luke
2                   Q.    Okay.
3                         The information that you found
4          on that compact disc -- or sorry, the
5          information that you found that you
6          believe comes from that compact disc, did
7          you provide that information to your
8          attorneys?
9                   A.    Provided the -- a portion of
10         that document that is related to the
11         individual loan owed by the consumer.
12                  Q.    How many individual loans are
13         on that -- or have information --
14                        MR. HAWKINS:             Strike that.
15                  Q.    How many individual loans'
16         information are reflected in that compact
17         disc?
18                  A.    The schedule, which is
19         contained in that compact disc, this goes
20         back to the answer previously where I
21         said more than a thousand, could be as
22         many as 20,000 but I'm uncertain exactly
23         the number.
24                        I don't recall the exact number
25         off the top of my head.

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1                                   Bradley Luke
2                   Q.      And what kinds of information
3          was on it for each individual loan?
4                   A.      For this particular schedule,
5          um, it was loan, um, amounts, Social
6          Security number of the consumer, the
7          primary borrower, the bank information.
8                           There is within this Exhibit 2
9          an excerpt of that schedule and we could
10         go to that excerpt and see the specific
11         data fields that are included in that
12         file.         And those data fields would be the
13         same for all the loans in that file, save
14         the specific data for that individual
15         loan, what type of data it would be.
16                  Q.      How do you know where that
17         information came from?
18                  A.      Can you rephrase your question,
19         please?
20                  Q.      Sure.
21                          MR. HAWKINS:           In fact, let me
22                  strike that and rephrase.
23                  Q.      How do you know that that
24         information you're referring to came from
25         the compact disc?

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1                                 Bradley Luke
2                   A.    From my training with First
3          Marblehead.         They created the compact
4          discs and likewise saved files on their
5          computer, um, those files being the data
6          or files that were saved on the compact
7          disc.
8                   Q.    Let's assume that I'm an all-
9          powerful judge -- it may be hard to
10         believe -- and I said to you, "Mr. Luke,
11         go get me that disc as soon as possible,"
12         what would you do?
13                  A.    First I would go back to my
14         office and see if I have that disc.                      Like
15         I said, I have some of the discs.
16                  Q.    But not this one?
17                  A.    I said I had some of them, I'm
18         not sure if I have this one was my prior
19         testimony; so if you asked, that would be
20         the first place I would check to see if I
21         do have it.
22                  Q.    Where in your office do you
23         keep these discs?
24                  A.    One of my drawers in my desk.
25         I don't remember which drawer I put it in

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1                                 Bradley Luke
2          or put them in.
3                   Q.     Not in a vault?
4                   A.     The discs, no, they're in my
5          office.
6                   Q.     When did you receive those
7          discs?
8                   A.     Spring of 2016, I believe.
9                   Q.     Why does that date stick out in
10         your mind?
11                  A.     Because I remember, um,
12         requesting some of those discs.
13                  Q.     In connection with what did you
14         request those discs?
15                  A.     It was litigation.
16                  Q.     Was it a litigation in which a
17         National Collegiate Student Loan Trust
18         was a defendant?
19                  A.     No.
20                  Q.     Was it a litigation in which
21         TSI or NCO was a defendant?
22                  A.     It was in relation to a TSI
23         litigation; I don't believe they were a
24         defendant.
25                  Q.     Was it in connection with a

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1                                  Bradley Luke
2          debt collection litigation being
3          litigated in state court?
4                   A.     No.
5                   Q.     Was it in connection with
6          federal court litigation?
7                   A.     Um, no.
8                   Q.     What kind of litigation was it,
9          if you recall?
10                  A.     It was in relation to a civil
11         investigative demand.
12                  Q.     From a government agency?
13                  A.     Yes.
14                  Q.     Which government agency?
15                  A.     Consumer Financial Protection
16         Bureau.
17                  Q.     Who received that?
18                         MR. HAWKINS:              Strike that and
19                  I'm going to back up one second.
20                  Q.     When you got the disc in May
21         2016, from whom did you get it?
22                         MR. CASAMENTO:                Objection.    I
23                  think you're misstating his
24                  testimony.
25                  A.     Spring of 2016, I believe, not

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1                                   Bradley Luke
2          necessarily May.
3                           MR. CASAMENTO:                I apologize and
4                   you used the word "disc," singular.
5                           MR. HAWKINS:              Okay, let me
6                   strike my last question and rephrase.
7                   Q.      You said that you received four
8          to seven discs, compact discs, in May
9          of --
10                          MR. HAWKINS:              Sorry, strike
11                  that.
12                  Q.      You said that you received four
13         to seven compact discs in the spring of
14         2016?
15                  A.      Yes.
16                  Q.      Is that right?
17                  A.      From my recollection, yes.
18                  Q.      From whom did you receive those
19         discs?
20                  A.      First Marblehead Corporation.
21                  Q.      Do you remember who
22         specifically at FMC sent you that disc,
23         those discs?
24                  A.      I don't off the top of my head.
25                  Q.      Did you ask FMC to send you

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1                                 Bradley Luke
2          those discs?
3                   A.     I did.
4                   Q.     Did you ask FMC to send you
5          those discs because of the CFPB civil
6          investigative demand you that referenced
7          earlier?
8                   A.     I did.
9                   Q.     Did you personally receive that
10         civil investigative demand from the CFPB?
11                  A.     I was not served with it, it
12         was served on TSI, um, and I received a
13         copy from the company.
14                  Q.     From whom in the company?
15                  A.     I believe our, I think their
16         title was Chief Legal Officer.                     It might
17         have been the Chief Compliance Officer.
18                  Q.     What are those two individuals'
19         names?
20                  A.     At that time it was Pia, P-I-A,
21         I don't remember her last name.                     That's
22         bad.
23                         MR. CASAMENTO:               It happens.
24                         THE WITNESS:             Yeah, I can't
25                  recall her last name right now.

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1                                 Bradley Luke
2          CD; would the Excel spreadsheet for this
3          schedule be on a CD?
4                   A.     I'm not sure, or I don't
5          recall.
6                          The Excel spreadsheet, the
7          schedule, um, that form exists prior to
8          the CD, so that's what's subsequently
9          saved on the CD that we spoke about
10         previously.
11                  Q.     How was that Excel spreadsheet
12         created?
13                  A.     It was created by First
14         Marblehead using data from AES when they
15         identified the loans that were eligible
16         for sale and ultimately sold that
17         document, the schedule was created by
18         First Marblehead using that data from
19         AES, who is the servicer who was
20         servicing those loans.
21                  Q.     How did AES -- and by AES we
22         also mean PHEAA; correct?
23                  A.     PHEAA, I'm sorry, yes.
24                  Q.     How did PHEAA convey those data
25         to FMC?

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1                                  Bradley Luke
2          the Trust does not do anything to create
3          this or have input on that process.
4                   Q.     Okay.
5                          Does anybody in the capacity of
6          the Trust do any sort of quality
7          assurance that this cut and paste system
8          is going smoothly?
9                   A.     Other than the employees of
10         TSI, no.
11                  Q.     So I just want to make sure I'm
12         understanding some moving pieces here.
13                         TSI will get a spreadsheet from
14         Marblehead that Marblehead, First
15         Marblehead says is the schedule; is that
16         right?
17                  A.     TSI got it technically through
18         NCO who got it from First Marblehead.
19                  Q.     Okay, NCO will get a
20         spreadsheet from FMC that FMC says is the
21         schedule?
22                  A.     Basically, yell.
23                  Q.     For a particular pool, is that
24         right?
25                  A.     Basically.

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1                                  Bradley Luke
2                          All the schedules came in one
3          file to NCO from First Marblehead, so
4          everything was received together.
5                   Q.     Okay.
6                          And then at a subsequent date
7          the data from the spreadsheet have cut
8          and pasted into individual tables like
9          this; is that right?
10                         MR. CASAMENTO:                Objection.
11                  Asked and answered.
12                         Go ahead.
13                  A.     Copy and pasted, no cut
14         function.
15                  Q.     Copy and pasted?
16                  A.     Yes.
17                  Q.     Okay.
18                         And the verification that is
19         used is from those spreadsheets to check
20         for Social Security number, guaranty
21         reference number and separate on?
22                         MR. CASAMENTO:                Objection.
23                  Asked and answered.
24                         You can answer.
25                  A.     The verification of the actual

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